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                   EXHIBIT 6
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Officers & Directors
                           Declaration of South Central Industrial Association
Mitch Marmande
President                  I, Christy Alley-Zeringue, declare that:
Delta Coast Consultants

Joni Tuck                      1. I am Executive Director for the South Central Industrial Association (SCIA). I
Executive Vice President
Shell
                                  have held this position for 6 years. SCIA provides and active voice for our
                                  industrial members in St. Mary, Terrebonne and Lafourche Parishes in
Eric Bollinger
                                  southeastern Louisiana. My responsibilities include: managing a 250
Vice President
Bollinger Shipyards               membership member association, advocating on behalf of the association
                                  members and their 200,000+ employees, fundraising for local scholarships
Charles Theriot
Treasurer                         through three major events, offering monthly membership luncheons with
Charles C. Theriot & Co.          over 150 in attendance with dynamic speakers engaged in the energy
CPA's                             industry and region.
JJ Buquet
Secretary                      2. Prior to my current position, I was Executive Director for the Bayou
Buquet Distributing
                                  Children’s Museum where I raised funds needed to build and operate the
Dean Cheramie                     multi-million-dollar Cajun-themed early education and tourist facility.
Director
D & S Marine Service
and Beacon NDT                 3. I am over 18 years of age, competent to testify in this case, and have
Services                          personal knowledge of the matters discussed in this declaration.
Matthew Newchurch
Duplantis Design Group         4. In my current position, I work to bring important issues to the SCIA
Director
                                  membership and offer educational and advocacy help. In particular, the
Mark Danos                        main role of our organization is to foster a healthy industrial business
Director                          environment and to facilitate workforce development and training.
Danos

Wynn Radford                   5. I am aware that the Federal Emergency Management Agency (FEMA) “is
Director
BP                                updating the National Flood Insurance Program’s (NFIP) risk rating
                                  methodology through the implementation of a new pricing methodology,”
Lance Trotti
Director
                                  titled “Risk Rating 2.0: Equity in Action.”1
Paul’s Agency
                               6. I am aware that FEMA states that Risk Rating 2.0’s “methodology leverages
Stuart Faucheux
Past President                     industry best practices and cutting-edge technology to enable FEMA to
Express Supply & Steel             deliver rates that are actuarily sound, equitable, easier to understand and
                                   better reflect a property’s flood risk.”2 Contrary to FEMA’s statements, Risk
                                   Rating 2.0 on the surface has no equity in its application. This policy will
                                   raise the price of flood insurance, which will have devastating


                           1 https://www.fema.gov/flood-insurance/risk-rating.
                           2 https://www.fema.gov/flood-insurance/risk-rating.

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                  consequences for Louisiana’s housing industry and the availability of
                  affordable housing in Louisiana. Specifically for the area I represent
                  according to FEMA’s own information, while 80% of policy owners will see
                  an increase in premiums, 96 percent of the residents and businesses in
                  Terrebonne Parish will see an increase and 97 percent of those in Lafourche
                  Parish.

              7. To reduce flood risk, Terrebonne Parish residents voted in 2001 and 2012 to
                 tax themselves to build the 98-mile Morganza to the Gulf Hurricane
                 Protection system, a 100-year storm surge protection system comprised of
                 levees and locks. Lafourche Parish taxed itself in 2006 and 2015 to improve
                 its levee systems throughout the parish.          These efforts have borne
                 tremendous fruit for our region. First, this local investment has spurred
                 increased state and federal monies to our protection system while providing
                 substantial risk reduction from flooding. Despite the areas being affected by
                 storms over the last decade including direct hits from Barry, Zeta and Ida
                 flood claims have been minimal.

              8. Risk Rating 2.0 threatens to raise the cost of housing beyond what people
                 can afford, which in turn will make it impossible for local industries to
                 attract workers to move here and fill job openings.

              9. Specifically, increasing the price of flood insurance will harm the housing
                 industry by making it near impossible for homeowners in our region to
                 afford housing and the required insurance. As an example, the SCIA
                 President and resident of Terrebonne Parish will see an outrageous increase
                 in his flood insurance. This year, his premium was $687 for the year. With
                 FEMA’s 18% increase each year, it is set to reach $7,000 per year for the
                 very same coverage of the very same home! It is also important to note that
                 Terrebonne Parish has adopted higher floodplain management standards
                 and participates in FEMA’s Community Rating System (CRS). Because of this,
                 the premium for the homeowner mentioned above was reduced by roughly
                 20%. By increasing the basic rate 10 fold, RR2.0 largely negates the benefits
                 and the hard work of Terrebonne Parish. So who would buy his home today
                 knowing the flood insurance rates will be north of $7,000 per year in the
                 future? Furthermore, what is equitable about such drastic increases for
                 flood insurance when these homes have never had claims. Flood plain
                 managers have reduced risk through elevation and hard protection yet this
                 new methodology does not allow for rate adjustments for these benefits.




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              10. Our region is the working coast of this country providing energy, healthcare,
                  and seafood for the entire nation. Our workforce must be able to live and
                  work in this area to respond to the needs of our state and country. An
                  increase in the price of flood insurance will also harm local industries
                  because employees will not be able to afford to live here and will seek work
                  elsewhere. We have a tremendous amount of available work, but
                  companies are finding it increasingly difficult to find workers. Once they visit
                  the area and seek housing opportunities, many will not be able to afford the
                  insurance required and will be forced to live and work elsewhere. Not only
                  will the insurance make the cost of living unaffordable, it will actually
                  deplete the value of homes in a very big way. The homeowner will find
                  themselves upside down on their mortgage. Local bank portfolios will
                  decrease in value. Lower home value means lower tax basis which lowers
                  basic services which makes it difficult to attract people for business.
                  According to the 2020 census, Terrebonne Parish has seen the largest
                  increase in residents leaving the area in the entire state, even though there
                  are far more available jobs here than in other areas of the state. The rising
                  cost of insurance will compound the issue of residents leaving the area to
                  head for more affordable housing options with cheaper insurance rates
                  leaving the businesses and industries in the area starving for labor until they
                  are forced to close their doors. Although this region is poised to gain the
                  most from the addition of alternative energy solutions because of its
                  established roots, proximity to the Gulf of Mexico, infrastructure, and ability
                  to provide the services for addition of energy, the skilled workforce will be
                  forced to leave due to the higher costs of insuring their homes. The
                  economic impact of this most unfair policy has not been examined and it is
                  unjust to arbitrarily inflict hardship on homeowners and businesses under
                  the false title of equity. The success of our communities depends on the
                  development of our youth. Our future and ability to attract people to our
                  region must be based on quality of life, for which affordable housing
                  insurance is of the utmost importance.

           I declare under penalty of perjury that the foregoing is true and correct. Executed in
           Houma, Louisiana, this 31st day of May 2023.




           Christy Alley-Zeringue
           Executive Director
           South Central Industrial Association



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